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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division                            ^      o
UNITED STATES OF AMERICA                                             2QU DEC -8 P > ^

       V.                                            Criminal No. !3:d9-Gfc368REP
COVEY ANDREWS                                        UNDER SEAL



  RESPONSE OF THE UNITED STATES TO DEFENDANT'S MOTION TO VACATE,
        SET ASIDE OR CORRECT SENTENCE PURSUANT TO 28 U.S.C. S 2255


       COMES NOW, the United States of America, by counsel, and responds as follows to

defendant's Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255

("Defendant's Motion").

                                        BACKGROUND


       On September 11, 2009, officers of the Richmond Police Department stopped the

Mercedes Benz defendant was driving in the vicinity of Brookland Park Boulevard. When

defendant refused consent to search the vehicle, Detective Jason Norton obtained a search

warrant for the car. Subsequently, officers recovered 33.4 grams of heroin, a digital scale,

sandwich baggies, a plastic bag containing small rubber bands and a loaded Smith& Wesson

.357 semi-automatic pistol. Defendant was a convicted felon at the time, so could not lawfully

possess the ammunition.

       On December 22, 2009, defendant pled guilty to possession with the intent to distribute

heroin, in violation of 21 U.S.C, § 841; and possession of a firearm in furtherance of a drug-
trafficking crime, in violation of 18 U.S.C. § 924(c). The Court sentenced defendant on March

22, 2010, to a term of imprisonment of 30 months on the drug offense, and to a consecutive term

of imprisonment of 60 months on the firearm count.
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        The search warrant was obtained by then Richmond Police Officer Jason Norton, who

submitted with the application a sworn affidavit stating that he had received information from a

confidential informant who stated that a individual knownas "Boo" [the defendant] had placeda

large amount of heroin in a silver Mercedes Benz located in a parking lot in the 1300 block of

Brookland Park Boulevard. Officer Norton also included information regarding his observations

of the described vehicle and the subsequent stop. In addition, Officer Norton provided

information describing the reliability of the informant based on information the informant had

previously provided him.

        On or about July 1, 2014, the United States Attorney*s Office provided defendant's

counsel with information that potentially calls into question the work of former Richmond Police

Officer Jason Norton. Based on an investigation into a number of other search warrant affidavits

prepared and sworn to by Officer Norton, it is possible that the information provided about the

reliability of the informant in the search warrant affidavit for the defendant's search warrant

might not be accurate. However, at this time there is no definitive proof that it is inaccurate, or

that if it is inaccurate, that it was an intentional misstatement of material facts.

                                     DEFENDANT'S CLAIMS


       Defendant claims that his Fourth Amendment rights were violated because the search

warrant was issued upon false information and absent that false information no probable cause

existed to support the issuance of a search warrant. Defendant seeks an order vacating his

conviction and requests a hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978) to hear

testimony and consider evidence challenging the statements contained in the search warrant

affidavit and the validity of the search warrant.
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                                           ARGUMENT


        "After the impositionof a sentence, a guiltyplea may be set aside pursuant to 28 U.S.C.

§ 2255." United States v. Fisher, 711 F.3d 460, 464(4thCir. 2013). A guilty pleais valid only

where it is a voluntary and intelligent choice. Fisher, 711 F.3d at 462. "[A] guilty plea is not

knowingly and voluntarily made when the defendant has been misinformed" as to a crucial

aspect of his case. Id, quoting United States v. Brown, 117F.3d 471, 473 (11thCir. 1997). .

        "[T]o set aside a plea as involuntary, a defendant who was fully aware ofthe direct

consequences of the plea must showthat (1) 'some egregiously impermissible conduct (say,

threats, blatant misrepresentations, or untoward blandishments by government agents) antedated

the entry of his plea' and (2) 'the misconduct influenced his decisionto plead guiltyor, put

another way, that it was material to that choice.'" Fisher, 711 F.3d at 465, quotingFerrara v.

United States, 456 F.3d 278,290 (1st Cir.2006) (emphasis added in Fisher) (citations omitted);

see also Brady v. United States, 397 U.S. at 755, 90 S.Ct. 1463. Defendant, however, bears the

burden ofproof. United States v. Pettiford, 612 F,3d 270, 277 (4^^ Cir. 2010).
       In Fisher, the defendant was charged with drug trafficking and a firearm crime solely

based on evidence seized from his residence during the execution of a search warrant. Fisher,

711 at 463. Subsequently, the defendant pleaded guilty to the firearm charge and was sentenced

to ten years in prison. Id. Over a year later, Officer Lunsford, who had sworn out the affidavit

that supportedthe search warrant, pleaded guilty to a variety of fraud and theft offenses related

to his duties as a DEA taskforce officer. As a part of his plea. Officer Lunsford admitted he had

falsely identified a confidential informant on an affidavit supporting a wiretap application, an

affidavit supporting a criminal complaint, and numerous investigation reports. Specifically with

regard to Fisher's case, the officer admitted that the confidential informant he identified in the
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search warrant affidavit "had no connection to the case" and that another individual was "the real

informant[.]" Id.

        Fisher filed a motion to vacate his guilty plea based on this new information, which the

district court denied. Subsequently, defendantfiled a 2255 motion seeking to vacate the

judgment. Id. The district court denied that motion as well, M 711 F.3d at 463-64.

       The Fourth Circuit reversed, holding that the officer's false statement in the search

warrant affidavit amounted to impermissible govenmient conductand that the defendant's plea

was induced by that misconduct. Id. at 462,467-68 . In so holding, the Fourth Circuit stated:

               Given the totality of the circumstances of this case - a law
               enforcement officer intentionally lying in an affidavit that formed
               the sole basis for searching the defendant's home, where evidence
               forming the basis of the charge to which he pled guilty was found
               - Defendant's plea was involuntary and violated his due process
               rights. Under these egregious circumstances. Defendant was
               "deceived into making the plea, and the deception prevents his act
               fi-om being a true act of volition." Lassiter v. Turner, 423 F,2d
               897, 900(4thCir. 1970).

Id. at 469. The Court went on to explain, "If a defendant cannot challenge the validity of a plea

based on subsequently discovered police misconduct, officers may be more likely to engage in

such conduct, as well as more likely to conceal it to help elicit guilty pleas. See Sanchez v.

UnitedStates, 50 F.3d 1448,1453 (9th Cir.1995) (stating that "if a defendant may not raise a

Brady claim after a guilty plea, prosecutors may be tempted to deliberately withhold exculpatory

information as part of an attempt to elicit guilty pleas"). Id.

       In the present case, as in Fisher, the defendant was charged with a crime based on

evidence seized during the execution of a search warrant. Defendant pleaded guilty to that
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charge and was sentenced. Subsequently, onor about July 1, 2014/ defendant and his attorney

learned for the first time that information contained in the search warrant affidavit might contain

incorrect information. Also, as in Fisher, neither the defendant nor the United States was aware

of the information at the time the defendant was charged or pleaded guilty. Further, as in Fisher,

the defendant here admitted that he committed the offense of conviction during his plea

colloquy.

       However, unlike Fisher, in the present case there is no admission by the affiant that

information contained in the affidavit was incorrect, let alone intentionally false. There appears

to have been an informant who provided Officer Norton the probable cause information as to

defendant. What may be in doubt is the accuracy of the information about the reliability of that

informant. Certainly the information recently provided the defendant calls into question that

information; however, doubt alone does not prove that the statements in the affidavit were in fact

false or, if they were false, were knowingly so, or that the affidavit lacked sufficient probable

cause without the false statements to support the issuance of a search warrant. See e.g., United

States V. Doyle, 650 F.3d 460,468 (4th Cir. 2011) ("[F]alse information will only void a warrant

if the information was necessary to the finding of probable cause."). Certainly, had the

information recently provided been available to the defendant prior to the entry of his plea, he

likely would have challenged the validity of the search warrant as he now seeks to do and may

have elected to proceed to trial given the credibility issues that appear to surround former Officer

Norton. But that information does not necessarily invalidate the search warrant for defendant's

vehicle, nor does it result in the suppression of the evidence seized during that search warrant.


' Defendant filed the present motion within oneyearof his receipt of newly discovered
information. Accordingly, the United States does not challenge the timeliness of this motion,
even though it was filed more than five years after defendant's sentence became final. See 28
U.S.C. § 2255 (f)(4).
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Further evidence is required to make that decision.

       Thus, the question is whether the Court should have a hearing on defendant's 2255

petition or should grant defendant's 2255 petition without a hearing, allow the defendant to

withdraw his plea, and then allow the defendant to challenge the search warrant at a suppression

hearing and Franks hearing.

        Section 2255(b) provides in pertinent part that,

               Unless the motion and the files and records of the case
               conclusively show that the prisoner is entitled to no relief, the court
               shall cause notice thereof to be served upon the United States
               attorney, grant a prompt hearing thereon, determine the issues and
               make findings of fact and conclusions of law with respect thereto.

       In this case, the record does not conclusively show that the defendant is not entitled to

relief It also does not conclusively show that he is. Thus, a hearing on the 2255 petition

certainly would be appropriate and useful to the resolution of the pending issue. Upon hearing

the evidence on defendant's 2255 motion, the Court could then either deny the defendant's 2255

motion or fashion an appropriate remedy, which could include allowing the defendant to

withdraw his plea and in effect start over by filing a motion to suppress and for a Franks hearing.

Given the issues in this case, any testimony and evidence at a 2255 hearing would likely be the

same as the testimony and evidence at a suppression or Franks hearing. Thus, the record

developed at the 2255 hearing could be used in support of the latter motion, negating the need for

an additional hearing.

                                         CONCLUSION


       Based on the foregoing, the United States respectfully requests that the Court hold a

hearing on defendant's 2255 motion to fixlly develop the record. The United States also
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respectfully reserves the rightto supplement its response to defendant's motion upon

development of the record.

                                            Respectfully submitted,

                                            DANA J. BOENTE
                                            UNITED STATES ATTORNEY




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                                      By:                          -1
                                            Stephen W. Miller
                                            Assistant United States Attorney
                                            United States Attorney's Office
                                            600 East Main Street, Suite 1800
                                            Richmond, Virginia 23219
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                                   CERTIFICATE OF SERVICE

       I hereby certify onthe 8th day of December, 2014,1 sent a true and exact copy ofthe
foregoing via United States firstclassmail, postage prepaid, and electronic mail to:


                              Robert J. Wagner
                              Assistant Federal Public Defender
                              701 E. Broad Street, Suite 3600
                              Richmond, Virginia 23219



                                             Stephen W, Miller
                                             Virginia Bar Number 23704
                                             Assistant United States Attorney
                                             Office of United States Attorney
                                             600 East Main Street, Suite 1800
                                             Richmond, Virginia 23219
                                             Phone:   804-819-5400
                                             Fax:     804-771-2316
                                             Stephen.miller@usdoj,gov
